                        THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 EAST GATE-LOGISTICS PARK                     )
 CHICAGO, LLC, and NORTHPOINT                 )
 DEVELOPMENT, LLC,                            )
                                              )
        Plaintiffs,                           )   Case No. 1:24-cv-03742
                                              )
        v.                                    )   Hon. LaShonda A. Hunt
                                              )
 CENTERPOINT PROPERTIES TRUST;                )
 CENTERPOINT JOLIET TERMINAL                  )
 RAILROAD, LLC; HOUBOLT ROAD                  )
 EXTENSION JV, LLC,                           )
                                              )
        Defendants.                           )
                                              )

                                   NOTICE OF APPEAL

       Notice is hereby given that Plaintiffs East Gate-Logistics Park Chicago, LLC and

NorthPoint Development, LLC, in the above-named case, hereby appeal to the United States Court

of Appeals for the Seventh Circuit from the Order granting Defendants’ Motion to Stay under

Colorado River entered in this action on September 23, 2024.

Dated: September 24, 2024                  Respectfully submitted,

                                           /s/ Robert J. Palmersheim
                                           Robert J. Palmersheim
                                           Timothy G. Parilla
                                           Kathryn L. Wilhoit
                                           Honigman LLP
                                           155 N. Wacker Dr., Ste. 3100
                                           Chicago, IL 60606
                                           (312) 701-9300
                                           rpalmersheim@honigman.com
                                           tparilla@honigman.com
                                           kwilhoit@honigman.com

                                           Herbert F. Allen (pro hac vice)
                                           Honigman LLP



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1440 New York Ave. NW, Ste. 200
Washington, DC 20005
(202) 899-4133
hallen@honigman.com

Attorneys for East Gate-Logistics Park Chicago,
LLC and NorthPoint Development, LLC




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                               CERTIFICATE OF SERVICE

        I hereby certify that on September 24, 2024, a true and correct copy of the foregoing
document was electronically filed via the Court’s CM/ECF system, which will send a copy of this
filing via electronic mail to all attorneys of record.

                                                   /s/ Robert J. Palmersheim
                                                   Robert J. Palmersheim
                                                   rpalmersheim@honigman.com
                                                   Honigman LLP
                                                   155 N. Wacker Dr., Ste. 3100
                                                   Chicago, IL 60606
                                                   Tel: (312) 701-9300




                                              3
